                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION


ONILEA PARROTT                           )
193 NW 21st Road                         )
Warrensburg, Missouri 64093,             )
                                         )
and                                      )
                                         )           Case No. ______________
DWIGHT PARROTT                           )
279 NE MM Highway                        )
Knob Noster, Missouri 64093,             )
                                         )
and                                      )
                                         )
MARLIN PARROTT                           )
204 NW 21st Road                         )
Warrensburg, Missouri 64093,             )
                                         )
and                                      )
                                         )
MONTE PARROTT                            )
192 SW Route 13                          )
Warrensburg, Missouri 64093,             )
                                         )
and                                      )
                                         )
TABATHA PARROTT                          )
192 SW Route 13                          )
Warrensburg, Missouri 64093,             )
                                         )
and                                      )
                                         )
MONTE AND TABATHA PARROTT, LLC,          )
192 SW Route 13                          )
Warrensburg, Missouri 64093,             )
                                         )
                Plaintiffs,              )
                                         )
V.                                       )
                                         )




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UNITED STATES POSTAL SERVICE                           )
Serve:                                                 )
       U.S. Attorney, Mid-American District            )
       United States Postal Service                    )
       300 W. Pershing Road                            )
       Kansas City, MO 64108-9331,                     )
                                                       )
And                                                    )
                                                       )
       ATTORNEY GENERAL OF THE                         )
       UNITED STATES OF AMERICA                        )
       950 Pennsylvania Avenue, NW                     )
       Washington, DC 20530-0001,                      )
                                                       )
                   Defendant.                          )


                                           COMPLAINT

                                             COUNT I

       COME NOW Plaintiffs, and for their cause of action against Defendant for the death of

Claude Dean Parrott, alleges and states as follows:

                                  JURISDICTION AND VENUE

       1.       At all times and places relevant herein, and on September 11, 2017, Plaintiff,

Onilea Parrott, was the wife of Claude Dean Parrott and a resident and citizen of Johnson

County, Missouri.

       2.       At all times relevant herein, Plaintiffs, Dwight Parrott, Marlin Parrott and Monte

Parrott, were the children of Claude Dean Parrott, deceased, and Onilea Parrott.

       3.       Plaintiffs are the only persons entitled to bring this action for the wrongful death

of Claude Dean Parrott pursuant to Missouri Revised Statute §537.080. Claude Dean Parrott’s

parents predeceased him. Plaintiffs bring this action under the Federal Tort Claims Act

(“FTCA”), 28 U.S.C. §§ 2671-2680, to recover damages for wrongful death. Pursuant to the

FTCA, the United States is responsible for money damages, for injury or loss of property, or



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personal injury or death caused by the negligent or wrongful act or omission of any employee of

the United States Government while acting within the scope of his or her office or employment.

           4.       At all times and places relevant herein, and on September 11, 2017, Claude Dean

Parrott was a citizen and resident of Johnson County, Missouri, and the husband of Onilea

Parrott.

           5.       Venue is proper in the United States District Court for the Western Division

because the events giving rise to the subject motor vehicle wreck of September 11, 2017, and

wrongful death of Claude Dean Parrott and Plaintiffs’ damages and wrongful death claim

occurred in this District. Venue is proper in this District Court under 28 U.S.C. § 1402(b) and 28

U.S.C. § 1391(e) because Plaintiffs reside in the Western District of Missouri, the acts or

omissions occurred in the Western District of Missouri, and the U.S. District Court has exclusive

jurisdiction over Defendants in any action brought under the Federal Tort Claims Act.

           6.       This Court has jurisdiction over the parties and subject matter of this wrongful

death suit pursuant to the FTCA, 28 U.S.C. § 1346(b).

           7.        On April 3, 2018, Plaintiffs submitted their wrongful death claim and Form 95 to

the U.S. Post Office C/O Tort Claims Investigations Mid America District, Kansas City,

Missouri, which were delivered and received on April 6, 2018. (See Plaintiff’s Exhibit 5, which

is incorporated by reference.)

           8.       More than six (6) months have expired since mailing Plaintiffs’ Form 95 to the

United States Post Office without a rejection of Plaintiffs’ claims.

           9.       Plaintiffs’ damages and the wrongful death of Claude Dean Parrott was caused by

the wrongful and negligent conduct of Kristal Lockhart, a government employee with the United

State Postal Service under circumstances where the United States Postal Service, if a private




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person, would be liable to Claude Dean Parrott and Plaintiffs in accordance with Missouri

Revised Statutes §537.080 and §537.090. The United States Postal Service is an agency of the

United States of America. On September 11, 2017, and all times relevant herein, the United

States of America was operating a Post Office in Johnson County, Missouri.

       10.     On September 11, 2017, at approximately 2:00 p.m., Claude Dean Parrott was

seriously injured in a motor vehicle wreck in Johnson County, Missouri, involving a 1993 GMC

LLV mail truck driven by Kristal Lockhart. (See Plaintiff’s Exhibit 1, which is incorporated by

reference). Claude Dean Parrott died as a direct and proximate result of injuries sustained in

that motor vehicle wreck.

       11.     At all times and places relevant herein, and on September 11, 2017, Kristal

Lockhart was and is a citizen and resident of Johnson County, Missouri, an agent of the United

States Postal Service, and she was acting within the scope of her employment with the United

States Postal Service at the time of the subject motor vehicle wreck, which caused Claude Dean

Parrott’s death.

       12.     On September 11, 2017, at approximately 2:00 p.m., Claude Dean Parrott was

lawfully operating a 1997 Ford L8000 Dump Truck southbound on Missouri 13 Highway

approaching County Road SE 300 in Johnson County, Missouri. (See the Missouri Uniform

Crash Report marked “Plaintiff’s Exhibit 1,” which is attached hereto and incorporated by

reference). Because the event giving rise to this cause of action occurred in the State of

Missouri, satisfying the most significant relationship test in this action for wrongful death,

Missouri substantive law applies.

       13.     At the aforesaid time and place, Kristal Lockhart was carelessly, recklessly and

negligently operating a 1993 GMC LLV Mail Truck eastbound on County Road SE 300 when




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she attempted to cross Missouri 13 Highway without yielding the right of way to the motor

vehicle Claude Dean Parrott was operating causing a violent collision. The mail truck was

owned by the United States Postal Service and it controlled and had the right to control the

conduct and driving of Kristal Lockhart at all times and places relevant.

       14.        As a direct and proximate result of said motor vehicle crash, Claude Dean Parrott

suffered severe and painful injuries and he ultimately died as a direct result of those injuries.

       15.        Claude Dean Parrott died as a result of the injuries suffered in the motor vehicle

wreck of September 11, 2017, caused by the carelessness and negligence of Kristal Lockhart and

Defendant as pled herein. (See Plaintiffs’ Exhibit 3).

                                         CLAIM FOR RELIEF

       16.        At all times relevant herein, Kristal Lockhart was an employee and agent of

Defendant, United States Postal Service, and at the time of the subject motor vehicle wreck of

September 11. 2017, was delivering mail rendering the United States Postal Service legally liable

for the negligence of Kristal Lockhart in causing the subject motor vehicle wreck and the death

of Claude Dean Parrott and Plaintiffs’ resulting damages.

       17.        At the times and places relevant herein, and on September 11, 2017, at the time of

the subject motor vehicle crash, Kristal Lockhart was careless, negligent, reckless and at fault in

causing the subject motor vehicle wreck, the death of Claude Dean Parrott and Plaintiffs’

resulting damages, in the following respects, to-wit:

             a.     she failed to yield the right-of-way to the motor vehicle
                    driven by Claude Dean Parrott in violation of Missouri
                    Revised Statute §304.351 constituting negligence per se
                    (See Plaintiff’s Exhibit 3, which is incorporated by
                    reference);

             b.     she failed to keep a careful lookout for the roadway and for
                    the motor vehicle driven by Claude Dean Parrott;



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  c.   she knew, or by the use of the highest degree of care could
       have known, that there was a reasonable likelihood of
       collision in time thereafter to have stopped, swerved,
       slackened her speed, sounded a warning, slackened her
       speed and sounded a warning, or swerved and sounded a
       warning, but Kristal Lockhart failed to do so;

  d.   she failed to keep the motor vehicle she was operating
       under proper control and in her lane;

  e.   she failed to lawfully stop her motor vehicle before striking
       the motor vehicle driven by Claude Dean Parrott;

  f.   she drove at a speed, which made it impossible to stop
       within the range of her visibility when she struck the motor
       vehicle driven by Claude Dean Parrott;

  g.   she drove in a careless and imprudent manner by failing to
       see the motor vehicle driven by Claude Dean Parrott and
       failing to yield the right of way in violation of Missouri
       Revised Statutes §304.012, §304.014, §304.015 and
       §304.351 constituting negligence per se;

  h.   she failed to avoid a collision with the motor vehicle driven
       by Claude Dean Parrott;

  i.   she drove at an excessive speed under the circumstances
       then and there existing and too fast for conditions;

  j.   she failed to slow or stop her vehicle before causing a
       collision with the motor vehicle driven by Claude Dean
       Parrott;

  k.   she failed to take timely and/or appropriate evasive action
       prior to collision with the motor vehicle driven by Claude
       Dean Parrott;

  l.   she failed to lawfully or otherwise slow or stop her vehicle
       prior to the collision with the motor vehicle driven by
       Claude Dean Parrott;

  m.   she failed to steer right or left to avoid a collision with the
       motor vehicle driven by Claude Dean Parrott;




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  n.   she violated Missouri Revised Statute §304.012
       constituting negligence per se;

  o.   she violated the rules of the road as pled herein and as
       required by Missouri Revised Statute §304.014 constituting
       negligence per se;

  p.   she failed to yield the right of way to the motor vehicle
       driven by Claude Dean Parrott in violation of Missouri
       Revised Statute §304.351;

  q.   she violated Missouri Revised Statutes §304.010, §304.012,
       §304.014, §304.015 and §304.351 constituting negligence
       per se;

  r.   she drove at a speed which made it impossible for her to
       stop within the range of her visibility;

  s.   she endangered the lives of Claude Dean Parrott and the
       traveling public by driving in a careless and imprudent
       manner in violation of Missouri Revised Statutes §304.012,
       §304.014, §304.315 and §304.351 and as pled herein;

  t.   she failed to timely slow or brake before the subject
       collision;

  u.   she failed to drive attentively;

  v.   she pulled out in front of the motor vehicle driven by
       Claude Dean Parrott when it was not safe to do so;

  w.   she was charged with operating a motor vehicle in a
       careless and imprudent manner involving an accident by
       failing to yield to another vehicle causing the death of
       another person;

  x.   she pled guilty to operating a motor vehicle in a careless
       and imprudent manner involving an accident by failing to
       yield to another vehicle causing the death of another person
       in violation of Missouri Revised Statute §304.012
       constituting negligence per se (See Plaintiff’s Exhibits
       120);

  y.   she drove while distracted; and




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             z.     she tried to dart across the highway when it was not safe to
                    do so.

       18.        As a direct and proximate result of the September 11, 2017, motor vehicle crash

described herein, Claude Dean Parrott sustained serious and life threatening injuries and

incredible pain and suffering prior to his death. The medical treatment to treat and try to save his

life cost over $136,424.47.

       19.        Pursuant to Missouri Revised Statute §537.090, Plaintiffs pray for all damages

allowed including actual damages and for such damages Claude Dean Parrott suffered between

the time of injury and the time of his death and for the recovery of which he could have

maintained had death not ensued. Plaintiffs request the trier of fact to consider the aggravating

circumstances attending the subject motor vehicle wreck and the death of Claude Dean Parrott as

alleged herein and to award aggravated circumstance damages pursuant to Missouri Revised

Statute §537.090.

       20.        Plaintiffs are legally entitled to recover damages from Defendant because of the

wrongful death of Claude Dean Parrott, and the bodily injury suffered by her prior to her death

pursuant to Missouri Revised Statute §537.090.

       21.        As a direct and proximate result of the aforesaid carelessness, negligence,

recklessness and fault of Kristal Lockhart, Claude Dean Parrott was seriously injured as set forth

herein, which resulted in his death and he sustained personal injuries and damages prior to his

death in the way of pain, suffering and massive injuries. Claude Dean Parrott survived the initial

crash and was taken by ambulance to Research Medical Center. The medical providers noted

Claude Dean Parrott suffered from traumatic hemopneumothorax; cardiogenic shock; respiratory

failure; closed head injury/loss of consciousness; bilateral pulmonary contusions; multiple left

sided rib fractures; fracture of C-7; cardiomyopathy; right upper lip laceration; right had



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abrasion; right anterior scalp laceration; left forehead abrasion; left elbow laceration; dislocation

of left acromioclavicular joint; hypertension; hyperlipidemia; insertion of endotracheal tube;

respiratory ventilation and drainage of left pleural cavity. He died on September 14, 2017, as a

direct result of the injuries suffered in the subject motor vehicle wreck.

           22.   As a direct and proximate result of the conduct and actions of Kristal Lockhart

and of the death of Claude Dean Parrott, Plaintiffs sustained damages and have been and will

continue to be permanently deprived of the reasonable value of the society, consortium, service,

affection, income, comfort, support, love and companionship of Claude Dean Parrott, such as

existed prior to the aforesaid motor vehicle wreck and they have suffered damages in the past

and will continue to suffer damages in the future.

           23.   As a direct result of the death of Claude Dean Parrott, there were funeral and

other related expenses for which Plaintiffs are obligated to pay and/or have paid. Plaintiffs have

and will suffer past and future losses of support as a result of the untimely death of Claude Dean

Parrott.

           24.   Pursuant to Missouri Revised Statute §537.090, Claude Dean Parrott, by and

through the Plaintiffs herein, prays for fair and reasonable damages as and for his personal

injuries and damages suffered after the aforesaid motor vehicle collision and prior to his death,

along with all other damages allowed pursuant to Missouri law including aggravated

circumstance damages.

           25.   As a direct and proximate result of the carelessness, recklessness and negligence

of Kristal Lockhart, all as aforesaid and of said collision Plaintiffs have been permanently

damaged and injured as a result of the death of Claude Dean Parrott.




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        26.     In accordance with Missouri law, Plaintiffs pray for fair and reasonable actual

damages against Defendant as allowed by Missouri law, for all other allowed damages under

Missouri Revised Statute §537.090, for the personal injuries, pain and damages suffered by

Claude Dean Parrott prior to his death and for prejudgment and post-judgment interest and the

statutory court costs, including all depositions pursuant to Missouri Revised Statute §492.590.

        27.     Plaintiffs incorporate by reference all allegations in Count II as though more fully

set forth herein.

        WHEREFORE, Plaintiffs pray for judgment against Defendant for fair and reasonable

actual damages and aggravated circumstantial damages, for prejudgment and post-judgment

interest at the lawful rate per annum, for Claude Dean Parrott’s pain and suffering before his

death and for such other and further relief as the Court shall deem just and proper under the facts

and circumstances including all statutory court costs and all deposition costs and expenses

pursuant to Missouri Revised Statute §492.590.

                                             COUNT II

        Comes now Plaintiffs, Monte and Tabatha Parrott, LLC, and individually and for their

cause of action against Defendant, alleges and states as follows:

        1.    On September 11, 2017, and at all times relevant herein Plaintiffs and Kristal

Lockhart are residents and citizens of Missouri.

        2.    On September 11, 2017, Plaintiffs, Monte and Tabatha Parrott, LLC, and

individually, were the legal title owner of the 1997 Ford L8000 Dump Truck being driven by

Claude Dean Parrott at the time of the subject motor vehicle wreck with Kristal Lockhart. (See

Plaintiff’s Exhibit 117.)




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          3.    On September 11, 2017, Kristal Lockhart was involved in a motor vehicle wreck in

which Plaintiffs’ 1997 Ford L8000 Dump Truck was totaled as a result of Kristal Lockhart’s

negligence as pled herein. (See Plaintiff’s Exhibit 1.)

          4.    As a direct result of the motor vehicle wreck of September 11, 2017, Plaintiffs’

1997 Ford L8000 Dump Truck was damaged in the amount of $24,025 to wit: the difference in

the Fair Market Value immediately before and after said motor vehicle wreck was $24,025. (See

Plaintiff’s Exhibit 118.)

          7.    Plaintiffs have been deprived of the use of his dump truck for his business as it was

totaled as a result of the motor vehicle wreck of September 11, 2017, for which Plaintiffs seek

fair and reasonable damages.

          8.    Plaintiffs, Monte and Tabatha Parrott, LLC, and individually, pray for fair and

reasonable damages against Defendant for the total property damage losses herein and for his

loss of use of his motor vehicle.

          9.    Plaintiffs incorporate by reference all allegations in Count I as though more fully set

forth herein.

          WHEREFORE, Plaintiffs, Monte and Tabatha Parrott, LLC, and individually, pray for

fair and reasonable damages against Defendant for their property damages and related losses, for

the statutory court costs, including all deposition costs and expenses pursuant to Missouri

Revised Statute §492.590 and for such other and further relief the Court shall deem just and

proper.




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                                                     /s/Andrew J. Gelbach__________________
                                                     ANDREW J. GELBACH              #26003
                                                     Fred Branson                   #62079
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                                                     agelbach@gelbachlaw.com

                                                     ATTORNEYS FOR PLAINTIFFS




                                 CERTIFICATE OF SERVICE

        I, Andrew J. Gelbach, hereby certify that on this 8th day of January 2019, I electronically
filed the foregoing with the Clerk of the Court using the CM/ECF system a copy of the foregoing
instrument will be included in the summons packet to be served upon Defendants and a copy was
mailed to the following:

Mr. David Kupper
Law Department
National Tort Center
United States Postal Service
1720 Market Street
Room 2400
St. Louis, MO 63155-9948



                                                     /s/Andrew J. Gelbach
                                                     ANDREW J. GELBACH




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                           CERTIFICATION UNDER RULE 55.03(a)

       Pursuant to Rule 55.03(a), the undersigned certifies that he signed an original of this
pleading and that an original of this pleading shall be maintained for a period not less than the
maximum allowable time to complete the appellate process.


                                                    /s/Andrew J. Gelbach
                                                    ANDREW J. GELBACH
                                                    Attorney for Plaintiff




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